        Case 2:24-cr-00091-ODW            Document 190 Filed 11/26/24               Page 1 of 1 Page ID
                                                  #:2282
 David Z. Chesnoff, Esq.
 Pro Hae Vice
 Chesnoff & Schonfeld
 520 S. 4th Street
 Las Vegas, Nevada 89101


                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                     CASE NUMBER:

                                                                               2:24-cr-00091 -ODW
                                               PLAINTIFF($)
                              V.
 Alexander Smirnov                                                     NOTICE OF MANUAL FILING
                                                                             OR LODGING
                                            DEFENDANT(S).

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11/26/24                                                       David Z. Chesnoff, Esq.
Date                                                           Attorney Name
                                                               Alexander Smirnov
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